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    9
   10                      UNITED STATES DISTRICT COURT
   11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
   13 NEMAN BROTHERS & ASSOC.,                     Case No. 2:20-cv-11181-CAS-JPRC
      INC., a California Corporation,
   14                                              DECLARATION OF MARK S. LEE
                   Plaintiff,                      IN SUPPORT OF MOTION FOR
   15                                              SUMMARY JUDGMENT ON
            v.                                     COPYRIGHT INVALIDITY ISSUE
   16
      INTERFOCUS, INC. d.b.a.                      Filed Concurrently with Motion for
   17 www.patpat.com, a Delaware                   Summary Judgment and Memorandum
      Corporation; CAN WANG, and                   of Points and Authorities
   18 individual, and DOES 1-10, inclusive.,
                                                   Date: December 6, 2021
   19              Defendants.                     Time: 10:00 am
                                                   Courtroom: Courtroom 8D
   20
      INTERFOCUS, INC. d.b.a.                      The Hon. Christina A. Snyder
   21 www.patpat.com, a Delaware
      Corporation; CAN WANG, an
   22 individual, and DOES 1-10, inclusive,
   23              Counterclaim Plaintiffs,
   24        v.
   25 NEMAN BROTHERS & ASSOC.,
      INC., a California Corporation,
   26
                   Counterclaim Defendant.
   27
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                                               1
            DECLARATION OF MARK S. LEE ISO MOTION FOR SUMMARY JUDGMENT ON COPYRIGHT
                                          INVALIDITY ISSUE
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    1        I, Mark S. Lee, declare:
    2        1.     I am a lawyer admitted to practice before this Court, and am a partner
    3 at Rimon, P.C., counsel of record for Interfocus, Inc. d.b.a. www.patpat.com
    4 (“Interfocus”) in this matter. I have personal knowledge of the following facts
    5 except where otherwise indicated based on my personal participation in the matters
    6 described, and if called upon as a witness, I could and would competently testify
    7 thereto.
    8        2.     On November 1, 2021, this office filed a supplemental brief and other
    9 supporting evidence in connection with a continued hearing this Court set for
   10 December 6, 2021. That supplemental brief raised the issue of the invalidity of the
   11 copyright registrations on which Plaintiff bases its copyright infringement claims
   12 herein based on knowing factual inaccuracies within them, and asked the Court to
   13 enter summary judgment for Defendant if the Copyright Office determined that the
   14 registrations would have been refused if it had known the true facts concerning
   15 those registrations.
   16        3.     After we filed those documents, we received an email from Plaintiff
   17 which demanded that we withdraw that briefing and argument, on the ground that
   18 this court had already denied our earlier motion for summary judgment, which had
   19 been brought on different, contractual, grounds. We responded by explaining why
   20 we believed its objections lacked merit, and pointed out that there were procedural
   21 advantages of Plaintiff in proceeding with the supplemental briefing this Court
   22 already ordered, but Plaintiff continued to complain. A true and correct copy of the
   23 email string between opposing counsel and myself on this issue is attached as
   24 Exhibit 4. (It is designated Exhibit 4 because my November 1 declaration includes
   25 Exhibits 1,2 and 3.) To accommodate Plaintiff’s procedural concerns, we file the
   26 present motion.
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                                                 2
            DECLARATION OF MARK S. LEE ISO MOTION FOR SUMMARY JUDGMENT ON COPYRIGHT
                                          INVALIDITY ISSUE
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    1        I declare under penalty of perjury under the laws of the United States that the
    2 foregoing is true and correct. Executed this November 4, 2021, at Los Angeles,
    3 California.
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                                                     /s/ Mark S. Lee
    5                                                Mark S. Lee
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            DECLARATION OF MARK S. LEE ISO MOTION FOR SUMMARY JUDGMENT ON COPYRIGHT
                                          INVALIDITY ISSUE
